              Case 2:07-cr-00059-TLN Document 61 Filed 05/23/07 Page 1 of 1


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 7
 8                         IN THE UNITED STATES DISTRICT COURT
 9                       FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       ) No. CR. S-07-0059 LKK
                                     )
12                  Plaintiff,       )
                                     ) ORDER AFTER STATUS CONFERENCE
13        v.                         )
                                     )
14   VAN HUNG VI et alia,            )
                                     ) Judge: Hon. Lawrence K. Karlton
15                  Defendants.      )
     _______________________________ )
16
17        This order memorializes the status conference held May 15, 2007.
18        All parties requested that another status conference be scheduled
19   for August 7, 2007, to afford counsel adequate time to complete their
20   review    of   discovery   and   to   assure   continuity   of   defense   counsel,
21   accommodating summer vacation schedules.          At the request of all counsel,
22   the Court ordered time under the Speedy Trial Act excluded through August
23   7, 2007, for necessary preparation and because of the complexity of the
24   multi-defendant, multi-event case (Local Code T2 and T4).
25            IT IS SO ORDERED.
26
27   Dated:    May 22, 2007
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